                 Case 5:16-cr-00481-DAE Document 30 Filed 01/15/19 Page 1 of 3
                                                                                               FILED
PROB     12B
(7/93)
                                                                                                  i   N   152019
                              UNITED STATES DISTRICT
                                                                for                                       DEPUTY CLERK
                                          WESTERN DISTRICT OF TEXAS



                          Request for Modifying the Conditions or Term of Supervision
                                         with Consent of the Offender
                               (Probation Form 49, Waiver of Hearing is Attached)


 Name of Offender:       Larry James Mechier                                 Case Number:   5:16-CR-00481-DAE(1
 Name of Sentencing Judicial Officer:        Honorable David A. Ezra, Senior United States District Judge
 Date of Original Sentence:      December 5,2016
 Original Offense:       Failure to Register as a Sex Offender, in violation of 18 U.S.C. 2250(a)
 Original Sentence:      Twenty four (24) months custody followed by a five (5) year term of supervised release.
Type of Supervision: Supervised Release                   Date Supervision Commenced:       March 12, 2018


                                             PREVIOUS COURT ACTION

On July 12, 2018, a Probation Form 12B, Request for Modifying the Conditions or Term of Supervision with Consent of the
Offender was filed with the Court. The Court approved the modification for sex-offense specific assessment.


                                             PETITIONING THE COURT


  1   To extend the term of supervision    years, for a total   of_ years.
      To modify the conditions of supervision as follows:


The defendant shall participate in a sex offense-specific treatment program and submit to periodic polygraph
testing at the discretion of the probation officer as a means to ensure compliance with the requirements of
supervision or the treatment program. The defendant shall follow the rules and regulations of the program. The
probation officer will supervise the defendant's participation in the program (provider, location, modality,
duration, intensity, etc). The defendant shall pay the costs of the program if financially able.

The defendant shall submit to periodic polygraph testing at the instruction of the probation officer as a means
to ensure compliance with the requirements of supervision.

                                                            CAUSE

On December 5, 2016, Larry James Mechier was sentenced to twenty four (24) months custody followed by a five (5)
year term of supervised release, for the offense of Failure to Register as a Sex Offender, in Dkt. No. 5:1 6-CR-0048 1-
DAE(1). At the time of sentencing, the offender was not ordered sex-offender specific special conditions or
assessments. According to the presentence report, Mr. Mechier has prior convictions for: Murder, Indecency with
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 Larry James Mechier
 5: 16-CR-0048     1-DAE(1)
 January   10,   2019
 Page 2

 Child Contact, Improper Lane Usage, Driving While Intoxicated, and Driving While Intoxicated         2nd
                                                                                                            The offender
 released from custody and commenced his term of supervised release on March 12, 2018.

 It should be noted, the instant offense for failure to register stems from the offender's conviction and sentence on May
 5, 1993, for Indecency with Child Contact, in Dkt. No.: 91DR61 15, in the 290th Judicial District Court, Bexar County,
 Texas. Specifically, beginning on about March 1990 until January 1991, the defendant committed the offense of
 Indecency with Child Contact, in that the defendant committed an act of sexual penetration and had sexual intercourse
 with a 13 year old child. The conviction qualified Mechler as a Teir III offender under the Adam Walsh Act. In the
 states of Maine and Texas, Mr. Mechler has a lifetime duty to register.

 On October 17, 2018, Larry James Mechler completed a sex offender assessment at Wodkins & Reed Counseling
 Services, Inc. Based on the results of the assessment, it was recommended Mr. Mechler be administered a polygraph
 and attend a sex offender treatment program.

Based on Mr. Mechler's criminal history and the results of the sex offender assessment, this officer respectfully
requests the addition of the special conditions as listed above. On December 20, 2018, Mr. Mechler agreed to the
modifications and signed a Probation Form 49, waiving his right to a hearing before the Court.


Approved:                                                                 Respectfully submitted,



  /J4 LcLt
.Jennifer Rk Co4dova                                                               .   anon Jr.
 Supervising U.s. Probation Officer                                       U.S. Probation Officer
 Telephone: (210) 472-6590, Ext. 5365                                     Telephone: (210) 472-6590, Ext. 55376
                                                                          Date: January 10, 2019
cc:    Tracy Thompson
       Assistant U.S. Attorney



 THE COURT ORDERS:
      None.

 U    The extension of supervision as noted above.

>fhe modification of conditions as noted above.
 U Other                                                                          /         _)f


                                                                                                   David Ezra
                                                                                                  District Judge

                                                                                        S
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PROB 49
(3/89)

                                     United States District Court
                                      Western District of Texas


                          Waiver of Hearing to Modify Conditions
              of Probation/Supervised Release or Extend Term of Supervision

    I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before
any unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of
supervision being extended. By "assistance of counsel," I understand that I have the right to be represented at
the hearing by counsel of my own choosing if I am able to retain counsel. I also understand that I have the
right to request the court to appoint counsel to represent me at such a hearing at no cost to myself if I am not
able to retain counsel of my own choosing.

    Ihereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of
my term of supervision.


The defendant shall participate in a sex offense-specific treatment program and submit to periodic
polygraph testing at the discretion of the probation officer as a means to ensure compliance with the
requirements of supervision or the treatment program. The defendant shall follow the rules and
regulations of the program. The probation officer will supervise the defendant's participation in the
program (provider, location, modality, duration, intensity, etc). The defendant shall pay the costs of the
program if financially able.
The defendant shall submit to periodic polygraph testing at the instruction of the probation officer as a
means to ensure compliance with the requirements of supervision.




                                                          Signed:
                 C. Barron Jr.                                   Larry        Mechier
          U.S. Probation Officer



                                                          Date
